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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )
       vs.                                       )                   Case No. 22-CR-1722-KWR
                                                 )
MARQUIS CRUZ,                                    )
                                                 )
               Defendant.                        )

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court upon the United States’ Notice of Potential Rule

609 Evidence to cross-examine Defendant regarding prior felony convictions Doc. 58. For the

reasons stated herein, the Court finds that Defendant’s objection is SUSTAINED IN PART.



                                        BACKGROUND

       Defendant Marquis Cruz was indicted on a four count Indictment for possession with

intent to distribute 40 grams and more of a mixture and substance containing fentanyl in

violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B); felon in possession of a firearm and

ammunition in violation of 18 U.S.C. §§ 922(g)(1) and 924; using and carrying a firearm during

and in relation to a drug trafficking crime, and possessing a firearm in furtherance of such crime

in violation of 18 U.S.C. § 924(c)(1)(A)(i); and possession of a mixture and substance containing

a detectable amount of methamphetamine in violation of 21 U.S.C. § 844.



                                     LEGAL STANDARD

       Under Federal Rule of Evidence 609, to attack a witness’s character for truthfulness by
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evidence of a prior felony criminal conviction, the evidence “must be admitted in a criminal case

in which the witness is a defendant, if the probative value of the evidence outweighs its

prejudicial effect to that defendant; and for any crime regardless of the punishment, the evidence

must be admitted if the court can readily determine that establishing the elements of the crime

required proving…a dishonest act or false statement.” Fed.R.Evid. 609(a)(1)(B); 609(a)(2).

       If more than ten years have passed since a witness’s conviction or release from

confinement, whichever is later, evidence of a prior conviction is admissible only if, “(1) its

probative value, supported by specific facts and circumstances, substantially outweighs its

prejudicial effect; and (2) the proponent gives an adverse party reasonable written notice of the

intent to use it so that the party has a fair opportunity to contest its use.” Fed.R.Evid. 609(b).



                                           DISCUSSION

       The United States asserts in its notice that if Defendant chooses to testify, the

Government intends to cross-examine him regarding his 2015 convictions for felony terroristic

threats and possession of narcotics on school property and his 2011 conviction for aggravated

burglary. Doc. 58 at 1. Specifically, the Government argues the two, 2015 New Jersey

convictions occurred within the past ten years and therefore cross-examination is proper under

Rule 609(b). Id. As to the 2011 New Mexico aggravated burglary conviction, cross-

examination should be permitted because it is probative of Defendant’s intent in possessing the

firearms in question here and is not unfairly prejudicial under Rule 609. Id. Defendant asserts

that cross-examination regarding the two 2015 convictions is unfairly prejudicial under Rule

609(a)(1)(A), as they have little probative value in determining Defendant’s truthfulness. Doc.

74 at 2-3. Additionally, Defendant’s 2011 conviction also lacks probative value, which does not



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outweigh its prejudicial effect according to Rule 609(b)(1). Id. This Court agrees with

Defendant and sustains his objection to the Government’s Rule 609 Notice.

       Under Rule 609(a)(1)(B), in determining whether probative value outweighs prejudicial

effect to a defendant, courts consider, “(1) the impeachment value of the defendant's prior

crimes; (2) the dates of the convictions and the defendant's subsequent history; (3) the similarity

between the past crime and charged crime; (4) the importance of the defendant's testimony; and

(5) the centrality of the defendant's credibility at trial.” United States v. Phillips, 487 F. Supp. 3d

1126, 1129 (D.N.M. 2020) citing, United States v. Smalls, 752 F.3d 1227, 1240 (10th Cir. 2014).

While the Tenth Circuit has not decided which party bears the burden, other federal circuits have

placed the burden on the Government. Id. citing, 28 CHARLES ALAN WRIGHT & ARTHUR

R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 6134, at n.100 (2d ed. 2020) (citing

United States v. Bagley, 772 F.2d 482, 487 (9th Cir. 1985); United States v. Lipscomb, 702 F.2d

1049, 1063 (D.C. Cir. 1983); United States v. Klendra, 663 F.2d 349, 353 n.1 (1st Cir. 1981);

and United States v. Hayes, 553 F.2d 824, 828 (2d Cir. 1977)).

       As to Defendant’s three prior felony convictions for terroristic threats, possession of

narcotics on school property, and aggravated burglary, this Court finds admission of these

convictions for impeachment purposes fails the Rule 609 balancing test. As to the impeachment

value, “a prior conviction is more likely to be admissible where it involves a crime that bears on

defendant’s credibility.” United States v. Walker, No. 23-CR-311-JFH, 2024 WL 182285 * 5

(N.D. Okla. Jan. 17, 2024) citing, United States v. Ahaisse, No. 2020-CR-0106-CVE, 2021 WL

2290574, at *1, *2 (N. D. Okla. June 4, 2021). The United States has not established how

Defendant’s prior convictions for felony terroristic threats, possession of narcotics on school




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property, or aggravated burglary bear on Defendant’s credibility.1 United States v. Barker, No.

21-CR-175, 2023 WL 2663241, at *4 (E. D. Okla. March 28, 2023). Crimes of violence

generally have lower probative value in determining credibility. Gordon v. United States, 383

F.2d 936, 940 (D.C. Cir. 1967); Furtado v. Bishop, 604 F.2d 80, 93–94 (1st Cir. 1979). While

the Tenth Circuit has previously held that aggravated robbery was properly admitted for

impeachment purposes under Rule 609 because it “cast doubt on the robber’s regard for truth[,]”

Halbert predates the Tenth Circuit’s Smalls decision. United States v. Halbert, 668 F.2d 489,

495 (10th Cir. 1982). Therefore, this Court finds Defendant’s prior felony convictions are not

probative of truthfulness or credibility and as such, lack impeachment value.

         As to temporal proximity, convictions greater than ten years old are generally excluded

for impeachment purposes. Fed.R.Evid. 609. While Defendant’s 2015 convictions are within

this admissible ten-year period, they occurred seven or eight years prior to the instant offenses.

These convictions likely do not have sufficient temporal proximity to the charges Defendant

faces here to be relevant and probative as to truthfulness. United States v. Briscoe, No. 20-CR-

1777 MV, 2023 WL 8237269 (D.N.M. Nov. 28, 2023) citing, United States v. Fountain, 642

F.2d 1083, 1093 (7th Cir. 1981). Concerning Defendant’s 2011 aggravated burglary conviction,

under Rule 609(b), since thirteen years have passed since Defendant’s conviction or release from

confinement, evidence is only admissible if its probative value substantially outweighs its

prejudicial effect. Fed.R.Evid. 609(b)(1). The United States has not established how the

probative value of Defendant’s aggravated burglary conviction substantially outweighs its

prejudicial effect. Therefore, this Court finds this factor weighs against admission under Rule


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 Under the New Jersey Code of Criminal Justice, the crime of felony terroristic threats is defined as, “any crime of
violence with the purpose to terrorize another or to cause evacuation of a building, place of assembly, or facility of
public transportation, or otherwise to cause serious public inconvenience, or in reckless disregard of the risk of
causing such terror or inconvenience.” NJ Rev Stat § 2C:12-3 (2020).

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609 for impeachment purposes.

       Regarding similarity between these prior convictions and the current crimes charged, this

factor especially weighs against admission for impeachment purposes as to Defendant’s

possession of narcotics on school property conviction. “The greater the similarity of the charged

crime to the past crime, the higher the likelihood that a jury will be tempted to infer criminal

propensity, rather than use the information for its intended purpose – impeachment of

credibility.” Id. citing, Ahaisse, No. 2020-CR-0106-CVE, 2021 WL 2290574, at *2 citing,

United States v. Caldwell, 760 F.3d 267, 287 (3d Cir. 2014); United States v. Chaco, 801 F.

Supp. 2d 1217, 1228 (D.N.M. 2011). While felony terroristic threats and aggravated burglary

bear no relation to the charges Defendant faces here, Defendant’s possession of narcotics on

school property conviction does. Introduction of Defendant’s prior drug conviction for

impeachment purposes risks criminal propensity prejudice as to the drug-related charges

Defendant faces in this case.

       As to the fourth factor, the importance of testimony, “the Court must determine whether

the apprehension of potential impeachment by prior convictions will cause Defendant to abstain

from testifying, thus damaging his right to a full defense.” Ahaisse, No. 2020-CR-0106-CVE,

2021 WL 2290574, at *3. Other courts have interpreted this Smalls factor to consider whether a

defendant’s testimony is critical to a trial. United States v. Romero, No. 21-CR-00559-JCH,

2023 WL 2413812 * 5 (D.N.M. Mar. 8, 2023). Here, Defendant asserts the United States will

rely on expert testimony rather than eyewitnesses, and therefore, Defendant’s testimony bears

little importance. Doc. 74 at 4. Since Defendant’s testimony is not central to this trial, this

factor weighs in favor of admission.

       Under the final factor, the centrality of credibility, “the Court must consider whether



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defendant’s credibility is a material consideration for the jury. Impeachment by prior conviction

is not as important if defendant’s anticipated testimony will not be central to a jury

determination.” Ahaisse, No. 2020-CR-0106-CVE, 2021 WL 2290574, at *3. “If a defendant’s

credibility is central to the trial, jurors should have access to information that will allow them to

properly assess the defendant’s testimony.” United States v. Briscoe, No. 20-CR-1777 MV,

2023 WL 8237269 * 4 (D.N.M. Nov. 28, 2023) citing, United States v. Johnson, 720 F.2d 519,

522 (8th Cir. 1983); Weinstein's Federal Evidence § 609.5 (3)(f); Ahaisse, 2021 WL 2290574, at

*3. Here, Defendant’s credibility is not at issue nor is his testimony, if given, central to a jury

determination. Doc. 74 at 4. Defendant faces several charges including, possession with intent

to distribute 40 grams and more of a mixture and substance containing fentanyl; felon in

possession of a firearm and ammunition; using and carrying a firearm during and in relation to a

drug trafficking crime; and possessing a firearm in furtherance of such crime; and possession of

a mixture and substance containing a detectable amount of methamphetamine. Doc. 2. Given

the charges Defendant faces, his credibility is not a material consideration for the jury.

Therefore, this Court finds this factor weighs against admission of Defendant’s prior convictions

for impeachment purposes.

       In light of these Smalls factors, this Court finds the probative value of the evidence does

not outweigh its prejudicial effect. Fed. R. Evid. 609(a)(1)(B). Impeachment value, similarity,

temporal proximity, and centrality of Defendant’s credibility all weigh against admission of

Defendant’s prior felony convictions for impeachment purposes. Admission of these convictions

for impeachment purposes carries little probative value that does not outweigh its prejudicial

effect. Furthermore, the probative value of Defendant’s 2011 felony conviction fails to

substantially outweigh its prejudicial effect. Associating Defendant with his prior felony



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terroristic threats, possession of narcotics on school property, and aggravated burglary

convictions in a wholly unrelated narcotics and firearm case would be inappropriate given the

lack of probative value. Defendant has stipulated to his prior felony convictions and therefore,

should he choose to testify, the United States is permitted to cross-examine Defendant without

naming his prior felony convictions or using them for impeachment purposes.

                                         CONCLUSION

       IT IS THEREFORE ORDERED that Defendant’s objection to Government’s Notice of

Proposed Rule 609 (Doc. 58) is SUSTAINED IN PART. This Court instructs the United States

not to elicit, mention, refer to, interrogate about, or attempt to convey to the jury in any manner,

either directly or indirectly, testimony that does not comply with Fed.R.Evid. 609 and this

Court’s order.



                                              ______________________________________
                                              KEA W. RIGGS
                                              UNITED STATES DISTRICT JUDGE




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